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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                         LITTLE ROCK DIVISION

PATRICIA WALKER-SWINTON                                                   PLAINTIFF

v.                                Case No. 4:18-CV-886 (KGB)

PHILANDER SMITH COLLEGE, AND
DR. RODERICK SMOTHERS, SR., PRESIDENT,
IN HIS INDIVIDIAL AND OFFICIAL CAPACITY,
AND DR. ZOLLIE STEVENSON, JR., VICE-PRESIDENT,
ACADEMIC AFFAIRS, IN HIS INDIVIDIAL AND
OFFICIAL CAPACITY                              DEFENDANTS

    PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE
RESPONSE TO DEFENDANTS’ MOTION FOR SHOW CAUSE HEARING

        Pursuant to Rule 6 of the Federal Rules of Civil Procedure, Plaintiff files this

motion for extension of time to file response in opposition to Defendants’ Motion

for Show Cause Hearing (Dkt. 30, hereafter “Motion”) and states:

     1. On November 28, 2018, Plaintiff filed a Complaint in this matter. (Dkt. 1).

     2. On March 11, 2018, Defendants filed a Motion for Show Cause Hearing

(Dkt. 30).

     3. The deadline to file a response to Defendants’ Motion has not yet expired.

     4. There is “good cause” to grant Plaintiff’s motion. This motion will enable

Plaintiff to provide responses in opposition to Defendants’ assertions, is in good

faith, and is not interposed for any delay or prejudice, but is in the best interest of




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justice. The granting of this motion will not prejudice any of the parties to this

action.

   5. Given the significance of addressing the assertions propounded in the

Motion, the Plaintiff is in need of an additional eight (8) days to respond.

   6. Plaintiff emailed opposing counsel prior to filing this motion but has not

received response indicating her posture on an extension.

      WHEREFORE, Plaintiff prays that this Court grant an extension of time to

file a response to the Defendants’ Motion until April 2, 2019, and for all other

proper and just relief.



                                              Respectfully submitted,

                                              /s/Teresa Bloodman, #2005055
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